  Case 2:23-cr-20121-JPM Document 58 Filed 10/27/23 Page 1 of 2                     PageID 96

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


UNITED STATES OF AMERICA
                Plaintiff,
v.                                                                      Cr. No. 2:23-20121-JPM

ASHLEY GRAYSON (1),
JOSHUA GRAYSON (2),

                     Defendant.



                             AMENDED SCHEDULING ORDER



       An Final Report Date/Status Conference was held on October 26, 2023. The following
deadlines and schedules were established:
       (1)     Discovery is complete. Further electronic data will be submitted no later than
               November 2, 2023.

       (2)    Any Expert Reports will be due by November 30, 2024.

       (3)    Any Pretrial Motions, including any motions to suppress, shall be filed by the
              close of business on November 15, 2023 and a response shall be filed within
              fourteen (14) days thereafter.

       (4)    A Final Report Date is set for Friday, February 16, 2024 at 9:30 AM in
              courtroom 7. The defendant(s) will inform the court whether they will proceed to
              trial or change their plea.

       (5)    Any Plea Agreement shall be signed and submitted to the Court by noon on
              February 14, 2024 and the Court's Case Manager notified. A change of plea
              hearing will be set by notice or the change of plea will proceed on the final report
              date.

       (6)    The Trial is set for Monday, March 4, 2024 and is estimated to take
              approximately 4 days.

       (7)    Excluded Time. The period from October 26, 2023 through March 4, 2024 is
              excluded under 18 U.S.C. § 3161(h)(7)(B)(iv) in order to allow additional time to
              prepare for trial or under the following specified provision: defense availability
              and preparation.
Case 2:23-cr-20121-JPM Document 58 Filed 10/27/23 Page 2 of 2   PageID 97

   SO ORDERED this 27th day of October, 2023.

                                   s/Jon P. McCalla
                                   U. S. District Judge




                                      2
